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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

              V.                            Case No. 19-CR-144-AKH

VICTOR MONES CORO,                          ORDER GRANTING
     a/k/a "Victor Mones,"                  WITHDRAWAL OF GUILTY
                                            PLEA
                     Defendant.



ALVIN K. HELLERSTEIN, U.S.D.J.:

      Defendant Victor Mones Coro seeks to withdraw his guilty plea, entered by

this Court on November 26, 2019.

      For reasons stated on the record on October 28, 2020, the defendant's

application is granted.

      A status conference will be held November 9, 2020, at 10:30 a.m. Time is

excluded until that date.

SO ORDERED.

Dated:        November~     20
              New York, New York
                                          W-;S#c
                                          AciiNK.HEijg,rnrn
                                          United States District Judge
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